Case 1:20-cv-00155-MN             Document 15        Filed 07/16/20     Page 1 of 2 PageID #: 53



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 DAVID FISK, Individually and on Behalf          )
 of All Others Similarly Situated,               )
                                                 )
                         Plaintiff,              )
                                                 )    Case No. 1:20-cv-00155-MN
         v.                                      )
                                                 )
 TALLGRASS ENERGY, LP, WILLIAM R.                )
 MOLER, MARCELINO OREJA                          )
 ARBURUA, GUY G. BUCKLEY, ROY N.                 )
 COOK, THOMAS A. GERKE, WALLACE                  )
 C. HENDERSON, MATTHEW J.K.                      )
 RUNKLE, and TERRANCE D. TOWNER,                 )
                                                 )
                         Defendants.             )



                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

        PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff David Fisk (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the

“Action”). Defendants have filed neither an answer nor a motion for summary judgment in the

Action, and no class has been certified. Plaintiff’s dismissal of the Action is therefore effective

upon the filing of this notice.

Dated: July 16, 2020

                                                     Respectfully submitted,

                                                     FARUQI & FARUQI, LLP

                                                     By: /s/ Michael Van Gorder
 OF COUNSEL:                                         Michael Van Gorder (#6214)
                                                     3828 Kennett Pike, Suite 201
 FARUQI & FARUQI, LLP                                Wilmington, DE 19807
 Nadeem Faruqi                                       Tel.: (302) 482-3182
 James M. Wilson, Jr.                                Email: mvangorder@faruqilaw.com
 685 Third Avenue, 26th Floor
 New York, NY 10017                                  Counsel for Plaintiff
 Tel.: (212) 983-9330
 Fax: (212) 983-9331



                                                -1-
Case 1:20-cv-00155-MN     Document 15     Filed 07/16/20   Page 2 of 2 PageID #: 54




Email: nfaruqi@faruqilaw.com
       jwilson@faruqilaw.com

Counsel for Plaintiff




                                        -2-
